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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 TQ DELTA, LLC,                                     §
                                                    §
           Plaintiff,                               §
                                                    §      Civil Action No. 2:21-cv- 310
 v.                                                 §
                                                    §      JURY TRIAL DEMANDED
 COMMSCOPE HOLDING                                  §
 COMPANY, INC., COMMSCOPE                           §
 INC., ARRIS INTERNATIONAL                          §
 LIMITED, ARRIS GLOBAL LTD.,                        §
 ARRIS US HOLDINGS, INC., ARRIS                     §
 SOLUTIONS, INC., ARRIS                             §
 TECHNOLOGY, INC., and ARRIS                        §
 ENTERPRISES, LLC,                                  §

           Defendants.


                  ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT


        Plaintiff TQ Delta, LLC (“TQ Delta”) and files this Original Complaint for Patent

Infringement against Defendants CommScope Holding Company, Inc., CommScope Inc., ARRIS

International Limited, ARRIS Global Ltd., ARRIS US Holdings, Inc., ARRIS Solutions, Inc.,

ARRIS Technology, Inc., and ARRIS Enterprises, LLC (collectively “CommScope”), alleging as

follows:

                                             I.   INTRODUCTION

        1.       TQ Delta owns a portfolio of patents relating to digital subscriber line (“DSL”)

technologies, including for example very-high-bit-rate digital subscriber line (“VDSL”)

technology and Fast Access to Subscriber Terminals technology (“G.fast”).          These patents

originate from groundbreaking innovations in the DSL field, including innovations that the

International Telecommunication Union (“ITU”) adopted in various DSL-related standards.


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        2.       CommScope infringes TQ Delta’s patents. CommScope provides DSL equipment,

and TQ Delta has attempted to license its patents to CommScope on a worldwide, non-

discriminatory basis and on reasonable terms and conditions. CommScope has refused to obtain

such a license or cease its infringement. It has continued to willfully infringe upon TQ Delta’s

patents, taking substantial benefits from TQ Delta’s inventions and harming TQ Delta. This case

is to redress that harm.

                                     II.       NATURE OF THE SUIT

        3.       This is a claim for patent infringement arising under the patent laws of the United

States, Title 35 of the United States Code.

                                             III.   THE PARTIES

        4.       Plaintiff TQ Delta, LLC is a is a limited liability company organized and existing

under the laws of the State of Delaware and having a principal place of business at 900 S. Capital

of Texas Hwy., Suite 150, Austin, Texas 78746.

        5.       Defendant CommScope Holding Company, Inc. is a corporation organized and

existing under the laws of the State of Delaware, and can be served through its registered agent,

United Agent Group Inc., 3411 Silverside Road Tatnall Building #104, Wilmington, DE 19810.

        6.       Upon information and belief, Defendant CommScope Inc. is a corporation

organized and existing under the laws of the State of Delaware, and can be served through its

registered agent, United Agent Group Inc., 3411 Silverside Road Tatnall Building #104,

Wilmington, DE 19810. Upon information and belief, CommScope Inc. is a wholly owned

subsidiary of CommScope Holding Company.




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         7.      Defendants ARRIS International Limited, ARRIS Global Ltd, ARRIS US

Holdings, Inc., ARRIS Solutions, Inc., ARRIS Technology, Inc., and ARRIS Enterprises, LLC are

collectively referred to as “ARRIS.”

         8.      CommScope Holding Company, Inc. acquired ARRIS in 2019.1 On information

and belief, CommScope Holding Company, Inc. is the parent corporation of ARRIS.

         9.      Defendant ARRIS International Limited f/k/a Arris International plc is a

corporation duly organized and existing under the laws of England and Wales.

         10.     Defendant ARRIS Global Ltd. is a corporation duly organized and existing under

the laws of England and Wales. On information and belief, ARRIS Global Ltd is a subsidiary of

ARRIS International Limited.

         11.     Defendant ARRIS US Holdings, Inc. is a corporation organized and existing under

the laws of the State of Delaware, and can be served through its registered agent, United Agent

Group Inc., 3411 Silverside Road, Tatnall Building, #104, Wilmington, DE 19810.              On

information and belief, ARRIS US Holdings, Inc. is a subsidiary of ARRIS International Limited.

CommScope has admitted that “Arris US Holdings, Inc.’s business includes selling products and

services throughout the United States, including in this judicial district.”2

         12.     Defendant ARRIS Solutions, Inc. is a corporation organized and existing under

the laws of the State of Delaware, and can be served through its registered agent, United Agent

Group Inc., 3411 Silverside Road, Tatnall Building, #104, Wilmington, DE 19810. CommScope


1
 See, e.g., SIPCO, LLC v. CommScope Holding Company, Inc., No. 5:20-CV-00168-RWS-CMC,
First Amended Complaint, at ¶ 16 (“Upon information and belief, CommScope acquired ARRIS
and Ruckus in 2019.”); SIPCO, LLC v. CommScope Holding Company, Inc., No. 5:20-CV-00168-
RWS-CMC, Answer to First Amended Complaint (Filed, June 7, 2021) (“SIPCO Answer”), at ¶
16 (“Admitted.”).
2
    See, e.g., SIPCO Answer at ¶ 11.



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has admitted that “ARRIS Solutions, Inc.’s business includes selling products and services

throughout the United States, including in this judicial district.”3 On information and belief,

ARRIS Solutions, Inc. is a subsidiary of ARRIS U.S. Holdings, Inc.

          13.    Defendant ARRIS Technology, Inc. is a corporation duly organized and existing

under the laws of the State of Delaware and can be served through its registered agent, United

Agent Group Inc., 3411 Silverside Road, Tatnall Building, #104, Wilmington, DE 19810. On

information and belief, ARRIS Technology, Inc. is a subsidiary of ARRIS Solutions, Inc.

          14.    Defendant ARRIS Enterprises LLC is a corporation organized and existing under

the laws of the State of Delaware, and can be served through its registered agent, United Agent

Group Inc., 3411 Silverside Road, Tatnall Building, #104, Wilmington, DE 19810. CommScope

has admitted that “ARRIS Enterprises LLC’s business includes selling products and services

throughout the United States, including in this judicial district.”4 On information and belief,

ARRIS Enterprises LLC is a subsidiary of ARRIS Technology, Inc.

          15.    On information and belief, ARRIS maintains regular and established places of

business and does business in Texas at its offices at 4516 Seton Center Pkwy, Austin, Texas 78759-

5370 and/or 5300 Hollister St., Houston, Texas 77040. On information and belief, ARRIS

maintained a regular and established place of business in Plano, Texas prior to its acquisition by

CommScope in 2019.5 As detailed below, CommScope (including ARRIS) maintains a regular




3
    See, e.g., SIPCO Answer, at ¶ 14.
4
    See, e.g., SIPO Answer, at ¶ 12.
5
  See, e.g., Venkee Communications LLC v. Arris Group, Inc., No. 2:18-CV-00050, Original
Complaint (Dkt. 1), at ¶ 4–10 (alleging a 2018 Plano, Texas location supported by Arris job
posting).



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and established place of business at 2601 Telecom Parkway, Richardson, Texas 70852, located

within this District.

        16.      Upon information and belief, all Defendants are a single combined “CommScope”

company. The online websites for Defendants are combined into a single “CommScope” presence.

For example, the ARRIS web domain (www.arris.com) re-directs the public to the CommScope

web domain (www.commscope.com).

        17.      The CommScope web domain further explains that the companies operate as

“combined companies” that provide their technologies, solutions, and products, such as by

importation, manufacture, sale, and/or offers for sale of their products and services throughout the

United States. For example, the CommScope website lists for sale ARRIS-branded DSL product

lines that, prior to acquisition of ARRIS, were available from Arris’s website.6

        18.      The      CommScope          jobs   websites   (https://jobs.commscope.com/       and

https://careers.commscope.com/) appear to handle the job recruitment features for all of

CommScope, including ARRIS. In addition, on information and belief, employees of ARRIS

became employees of CommScope after the acquisition and work out of CommScope’s

Richardson, Texas office located in this district.

                                IV.      JURISDICITON AND VENUE

        19.      This action is for patent infringement under the patent laws of the United States, 35

U.S.C. § 1 et seq.

        20.      This Court has subject matter jurisdiction over this dispute pursuant to 28 U.S.C.

§§ 1331, 1367, 1338(a), and/or 2201.


6
 Compare e.g., https://www.commscope.com/product-type/broadband-video-devices/broadband-
devices/xdsl-gateways/                                                                with
https://web.archive.org/web/20160301000110/http://www.arris.com/Products/Markets/Telco.



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        21.      This Court has personal jurisdiction over CommScope, and CommScope has

acceded to this Court’s jurisdiction in prior patent cases.7

        22.      The Court has personal jurisdiction over CommScope because, among other things,

TQ Delta’s claims arise in whole or in part from CommScope’s conduct in Texas, including

making, using, offering to sell and/or selling accused products in Texas, and/or importing accused

products into Texas, and/or inducing others to commit acts of patent infringement in Texas. For

example, on information and belief, CommScope operates offices at which it does business in

Texas at the following locations: 2601 Telecom Parkway, Richardson, Texas 70852; 11312 S.

Pipeline Road, Euless, Texas 76040; 4516 Seton Center Pkwy, Austin, Texas 78759-5370; 5300

Hollister St., Houston, Texas 77040; and 4101 W. Military Highway A, McAllen, Texas 78053.

CommScope has admitted that it conducts business in Texas.8

        23.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400(b).

CommScope has admitted in this Court that it “has a regular and established physical place of

business in the Eastern District of Texas.”9 CommScope maintains a regular and established place


7
  See, e.g., SIPCO, LLC v. CommScope Holding Company, Inc., No. 5:20-CV-00168-RWS-CMC,
Answer to First Amended Complaint, at ¶ 24 (“Defendants, for purposes of this case only, will not
challenge personal jurisdiction in the Eastern District of Texas.”); See, e.g., Barkan Wireless IP
Holdings, L.P. v. Sprint Corp., No. 2:19-CV-00336-JRG, Answer to Amended Complaint, at ¶ 14
(“For the purposes of this action only, CommScope does not challenge the Court’s personal
jurisdiction over CommScope.”).
8
  See, e.g., Barkan Wireless IP Holdings, L.P. v. Sprint Corp., No. 2:19-CV-00336-JRG, Answer
to Amended Complaint, at ¶ 14 (“CommScope admits that it conducts business in Texas.”).
9
  SIPCO, LLC v. CommScope Holding Company, Inc., No. 5:20-CV-00168-RWS-CMC, First
Amended Complaint, at ¶ 24 (“Plaintiff is informed and believes, and on that basis alleges, that
CommScope has a regular and established physical place of business in the Eastern District of
Texas, including at 2601 Telecom Parkway, Richardson Texas 70852 . . . .”); SIPCO Answer at ¶
24 (“Admitted.”); see also Barkan Wireless IP Holdings, L.P. v. Sprint Corp., No. 2:19-CV-00336-
JRG, Answer to Amended Complaint, at ¶ 16 (“CommScope admits that it has a regular and
established place of business in this judicial district at 2601 Telecom Parkway, Richardson, Texas



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of business in 2601 Telecom Parkway, Richardson, Texas 70852, located within this District that

contains CommScope’s employees and/or other individuals CommScope directs or controls.10

Venue is also proper in this District pursuant to 28 U.S.C § 1391(c)(3) on the basis that ARRIS

International Limited and ARRIS Global Ltd are not residents of the United States.

         24.     On information and belief, CommScope has current and former employees,

including engineers, managers, and executives, in this District and/or Texas, including personnel

relating to the DSL functionality of the Accused CommScope DSL CPE Products.11

         25.     On information and belief, CommScope also employed personnel relating to ITU-

T standards in Texas and this District.

         26.     On information and belief, CommScope also has major customers with locations in

Texas and this District, including, for example, AT&T.

         27.     CommScope’s commission of acts of infringement in this District, and the presence

of an office at which CommScope does business in the Eastern District of Texas, establishes venue

over CommScope under 28 U.S.C. § 1400(b).


70852.”).
10
   See, e.g., https://www.collincad.org/propertysearch?prop=2075393&year=2021 (listing
CommScope Inc. as owner of property in Collin County with a tax valuation of $13,867,489 in
2021).
11
    See, e.g., https://www.linkedin.com/in/joseph-z-yu (“Firmware development for DSL
modems.”); https://www.linkedin.com/in/stevetcochran (“I led a distributed team of software
engineers continuing the development and support of the Pace DSL residential gateway product.
These routers are deployed by AT&T and other service providers to millions of subscriber
homes.”); https://www.linkedin.com/in/wchatila (regional VP of Sales at CommScope);
https://www.linkedin.com/in/bryce-garrett-8bba71/ (former Director of Sales that “[m]anaged the
AT&T Account with responsibility for deployment of all ARRIS Residential Gateways (RGs),
Wireless Access Points (WAPs) and home entertainment receivers for U-Verse, Business and
Legacy subscribers. Sales were achieved through direct B2B as well as channel partners, VARs
and distribution. . . .The ARRIS CPE portfolio includes DSL, VDSL, VDSL2, Bonded VDSL,
G.fast and GigaPower Fiber gateways . . . .”).



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                                             V.   BACKGROUND

    A.         TQ Delta and the DSL Standards

         28.      TQ Delta is the successor-in-interest in patents from Aware, Inc. (“Aware”). Aware

was a world-leading innovator and provider of DSL technologies.

         29.      This cause of action asserts infringement of the following TQ Delta’s patents,

United States Patent Nos. 7,453,881 (“the ’881 Patent”); 7,570,686 (“the ’686 Patent”); 7,844,882

(“the ’882 Patent”); 8,090,008 (“the ’008 Patent”); 8,276,048 (“the ’048 Patent”); 8,462,835 (“the

’835 Patent”); 8,468,411 (“the ’411 Patent”); 8,937,988 (“the ’988 Patent”); 9,094,348 (“the ’348

Patent”); 9,154,354 (“the ’354 Patent”); 9,485,055 (“the ’055 Patent”); 10,567,112 (“the ’112

Patent”); and 10,833,809 (“the ’809 Patent”). (collectively, “the TQ Delta Patents”).

         30.      The primary inventor of TQ Delta’s DSL patents, Marcos Tzannes, has worked on

DSL-related technologies for almost 30 years. Mr. Tzannes was the head of the DSL technology

group at Aware, and major semiconductor companies purchased Aware’s chip designs.

         31.      Mr. Tzannes also had significant involvement in developing industry standards for

DSL technology. Mr. Tzannes attended the DSL standard group meetings on behalf of Aware

(and continued to do so on behalf of TQ Delta). Mr. Tzannes has been a participant and contributor

at ITU meetings in 1997 and, over the years, served as the chair of a number of ITU standards

committees. Those include committees relating to DSL, including G.bond. In 2012, the ITU

recognized Mr. Tzannes for his contributions on eight different standards.

         32.      On information and belief, representatives of CommScope also attended these ITU

standards meetings at the time Mr. Tzannes attended them.




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           33.      The ITU has adopted a number of industry standards relating to DSL technologies.

Those include ITU-T ADSL2/2+, ITU-T VDSL2, ITU-T G.bond, ITU-T G.inp, ITU-T G.vector,

and ITU-T G.fast.

      B.         CommScope’s Infringement of the TQ Delta’s Patents

           34.      CommScope infringes the TQ Delta Patents.        Its products comply with and

implement the DSL standards, including ADSL2/2+, VDSL2, G.bond, G.inp, G.vector, and G.fast.

CommScope markets and has marketed its products as complying with these standards.

CommScope makes, uses, sells, offers for sale, and/or imports customer premise equipment

(“CPE”) products, including without limitation gateways, modems, and service managers, that

operate in accordance with one or more of the DSL standards (“DSL CPE Products”). The DSL

CPE Products operate in accordance with ADSL2/2+, VDSL2, G.bond, G.inp, and/or G.vector.12

The DSL CPE Products also operate in accordance with G.fast.13

           35.      CommScope provides DSL CPE Products to telephone/broadband carriers and such

carriers’ subscribers/customers (collectively, “Customers”) knowing that its DSL CPE Products

will be deployed and used in a DSL network to provide DSL service by operating in accordance

with the DSL Standards. CommScope also provides instructions and support (including, for

example, providing upgrades, troubleshooting, and warranty support) to its Customers to ensure

that its DSL CPE Products operate as intended (e.g., in accordance with the DSL Standards). For




12
     E.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf.
13
  E.g., https://www.goamt.com/wp-content/uploads/2017/11/FST1305 G.FAST-VDSL2-35B-
BRIDGE-MODEM_AMT.pdf.



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example, on information and belief, CommScope DSL CPE Products have been deployed in

networks for AT&T and Frontier Networks.14

        36.      CommScope has known about the TQ Delta Patents and its infringement since prior

to filing of this Complaint. TQ Delta contacted ARRIS and offered to engage in licensing

discussions on multiple occasions. After CommScope acquired ARRIS, TQ Delta contacted

CommScope to offer to engage in licensing discussions. In multiple correspondences with

CommScope, TQ Delta identified a number of ARRIS products it believed are covered by TQ

Delta’s patents. TQ Delta also met with CommScope in Austin, Texas. TQ Delta’s attempts to

license its patents to CommScope on a worldwide, non-discriminatory basis and on reasonable

terms and conditions continued to this year. CommScope still refuses to accept a license TQ

Delta’s patents on a worldwide, non-discriminatory basis and on reasonable terms and conditions

        37.      CommScope has known or was willfully blind to its infringement of TQ Delta’s

patents. As detailed above, TQ Delta has been in near-continuous contact with CommScope for

years about its infringement.

        38.      In addition, CommScope has known or should have known about its infringement

based on the publication of the ITU DSL standards and CommScope’s involvement with the

standards. Since prior to CommScope’s infringing conduct alleged herein, the ITU standards have

been published with an intellectual-property rights warning that draws attention to the possibility

that implementation of the standard may involve the use of a claimed intellectual-property right


14
   See, e.g., https://www.linkedin.com/in/bryce-garrett-8bba71/ (former Director of Sales that
“[m]anaged the AT&T Account with responsibility for deployment of all ARRIS Residential
Gateways (RGs), Wireless Access Points (WAPs) and home entertainment receivers for U-Verse,
Business and Legacy subscribers.. . . .The ARRIS CPE portfolio includes DSL, VDSL, VDSL2,
Bonded       VDSL,      G.fast     and   GigaPower      Fiber    gateways     .    .   .    .”);
https://go.frontier.com/internet/equipment (“Frontier® Internet works with a variety of routers,
like the Arris NVG443B . . . .”).



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and “strongly urge[s]” implementers to consult the ITU’s database regarding applicable

intellectual property.15

        39.      A basic search of the ITU database would have shown that TQ Delta (or its

predecessor-in-interest, Aware) submitted a Patent Statement and Licensing Declarations

(“PSLDs”) regarding DSL standards, exemplified below for G.fast (G.9701):




        40.      Similar searches for TQ Delta (or Aware) would have shown submitted PSLDs for

G.inp, G.bond, and VDSL2, among others.

        41.      The PSLDs identify the standard that a patent holder believes the practice of which

requires a license. The ITU PSLDs are publicly available.



15
    See, e.g., https://www.itu.int/rec/dologin_pub.asp?lang=e&id=T-REC-G.9700-201404-
S!!PDF-E&type=items (G.fast); https://www.itu.int/rec/dologin pub.asp?lang=e&id=T-REC-
G.998.4-201006-S!!PDF-E&type=items (G.inp).



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          42.      For example, TQ Delta submitted a PSLD in connection with G.fast (G.9701)

stating that it “believe[d] that it holds granted and/or pending application for Patents, the use of

which would be required to implement [ITU-T G.9701].” TQ Delta and Aware submitted similar

PSLDs for G.inp, G.bond, and VDSL2 standards, among others.16 These PSLDs have been

publicly available prior to filing of this Complaint.

          43.      On information and belief, CommScope is familiar with the PSLD database and the

contents of declarations filed with the ITU.

          44.      Thus, prior to the filing of this Complaint, CommScope had actual knowledge of,

and was familiar with, the intellectual-property rights warnings, the ITU procedures and

requirements for submissions of PSLDs, and the process of identifying parties who had submitted

PSLDs for the DSL standards.

          45.      Defendants have had actual notice of the TQ Delta Patents and their infringement

prior to the filing of this Complaint.

          46.      Defendants’ infringement, as detailed above, has been willful.

                                             VI.   CLAIMS

     A.         Infringement of the ’881 Patent

          47.      The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.




16
    See, e.g.,          https://www.itu.int/ITU-T/recommendations/related_ps.aspx?id_prod=10418
(G.998.4);               https://www.itu.int/ITU-T/recommendations/related_ps.aspx?id_prod=8548
(G.993.2);              https://www.itu.int/ITU-T/recommendations/related ps.aspx?id prod=10414
(G.993.5).



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        48.      A true and correct copy of the ’881 Patent, entitled “Systems and methods for multi-

pair ATM over DSL,” and with Marcos Tzannes as the first named inventor, is attached hereto as

Exhibit 1.

        49.      The ’881 Patent duly and legally issued on November 18, 2008.

        50.      TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’881 Patent. TQ Delta has standing to sue for infringement of the ’881 Patent.

        51.      The G.bond (ITU-T G.998.1 and G.998.2) standards specify functionality for a

plurality of bonded transceivers, each bonded transceiver utilizing at least one transmission

parameter value to reduce a difference in latency between the bonded transceivers, wherein a data

rate for a first of the bonded transceivers is different than a data rate for a second of the bonded

transceivers (e.g., using forward error correction and/or interleaving parameter values to reduce

the difference in latency between the higher and lower speed links).17

        52.      CommScope’s DSL CPE Products comply with G.bond (ITU-T G.998.1 and

G.998.2).18

        53.      CommScope has directly infringed and continues to infringe at least claim 17 of

the ’881 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and

without TQ Delta’s authority, making, using, selling, or offering to sell DSL CPE Products in the

United States, or importing said DSL CPE Products into the United States.

        54.      Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 17 of the ’881 Patent in violation of 35 U.S.C. § 271(b). CommScope users and


17
  See, e.g., ITU-T G.998.1 at Summary, Table 7.7, Table C.7-7, §§ 1, 11.4.1, K.2.7; ITU-T
G.998.2 at Summary, §§ 6, 61.2.2.5.
18
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ADSL2/2+ bonding and VDSL2 bonding).



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customers (e.g., service providers) of DSL CPE Products directly infringed at least claim 17 of the

’881 Patent when they used the DSL CPE Products in the ordinary, customary, and intended way

to operate within the G.bond (ITU-T G.998.1 and G.998.2) standard. CommScope’s inducements

included, without limitation and with specific intent to encourage the infringement, knowingly

inducing consumers to use the DSL CPE Products within the United States in the ordinary,

customary, and intended way by, directly or through intermediaries, supplying said DSL CPE

Products to customers within the United States and instructing and encouraging such customers

(for example, via distributing the DSL CPE Products to service-provider customers and instructing

those service-provider customers to use to the products to implement G.bond (ITU-T G.998.1 and

G.998.2)) how to use the DSL CPE Products in the ordinary, customary, and intended way, which

CommScope knows or should know infringes at least claim 17 of the ’881 Patent. CommScope’s

inducements may further include, without limitation and with specific intent to encourage the

infringement, knowingly inducing customers to use the DSL CPE Products within the United

States, or knowingly inducing customers to use the DSL CPE Products within the United States,

by, directly or through intermediaries, instructing and encouraging such customers to make, use,

sell, or offer to sell the DSL CPE Products in the United States, which CommScope knows or

should know infringes at least claim 17 of the ’881 Patent.

        55.      Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’881 Patent, by selling DSL CPE

Products to customers in the United States for use in practicing at least claim 17 of the ’881 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’881 Patent. Specifically, CommScope sold




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the DSL CPE Products to customers knowing that the products directly infringe the ’881 Patent

when used for their normal and intended purpose, including by operating in accordance with

G.bond (ITU-T G.998.1 and G.998.2). The products are made for the specific purpose of operating

according to the DSL Standards and have no substantial non-infringing use.

         56.      CommScope knew or should have known of the ’881 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’881 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’881 Patent. CommScope’s infringement of the ’881 Patent has been willful and deliberate.

    B.         Infringement of the ’686 Patent

         57.      The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

         58.      A true and correct copy of the ’686 Patent, entitled “Systems and methods for

establishing a diagnostic transmission mode and communicating over the same,” and with David

Krinsky as the first named inventor, is attached hereto as Exhibit 2.

         59.      The ’686 Patent duly and legally issued on August 4, 2009.

         60.      TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’686 Patent. TQ Delta has standing to sue for infringement of the ’686 Patent.

         61.      The ADSL2/2+ (G.992.3/5) and VDSL2 (ITU-T G.993.2) standards specify

functionality for an information storage media comprising instructions that when executed

communicate diagnostic information over a communication channel using multicarrier modulation

comprising: instructions that when executed direct a transceiver to receive or transmit an initiate




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diagnostic mode message; and instructions that when executed transmit from the transceiver a

diagnostic message using multicarrier modulation with DMT symbols that are mapped to one bit

of the diagnostic message, wherein the diagnostic message comprises a plurality of data variables

representing the diagnostic information about the communication channel, and wherein one

variable comprises an array representing is frequency domain received idle channel noise

information (e.g., loop diagnostic mode procedures).19

        62.      CommScope’s DSL CPE Products include products that operate in accordance with

VDSL2 (ITU-T G.993.2).20

        63.      CommScope’s DSL CPE Products include products that operate in accordance with

ASDL2/2+ (ITU-T G.992.3/5).21

        64.      CommScope has directly infringed and continues to infringe at least claim 36 of

the ’686 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and

without TQ Delta’s authority, making, using, selling, or offering to sell the DSL CPE Products in

the United States, or importing said DSL CPE Products into the United States.

        65.      Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 36 of the ’686 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 36

of the ’686 Patent when they used the DSL CPE Products in the ordinary, customary, and intended


19
  See, e.g., ITU-T G.992.3/5 §§ 8.8, 8.15 (including, for examples, Tables 8-21, 8-23, 8-42, 8-52,
8-62).; ITU-T G.993.2 §§ 10.4, 11.4, 12.4 (including, for examples, Tables 12-6, 12-10, 12-16,
12-74, 12-71, 12-75).
20
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ITU-T G.993.2).
21
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ITU-T G.992.3 and G.992.5).



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way to operate within the VDSL2 (ITU-T G.993.2) and/or ADSL2/2+ (ITU-T G.992.3/5)

standards. CommScope’s inducements included, without limitation and with specific intent to

encourage the infringement, knowingly inducing consumers to use the DSL CPE Products within

the United States in the ordinary, customary, and intended way by, directly or through

intermediaries, supplying said DSL CPE Products to customers within the United States and

instructing and encouraging such customers (for example, via distributing the DSL CPE Products

to service-provider customers and instructing those service-provider customers to use to the

products to implement VDLS2 (ITU-T G.993.2) and/or ADSL2/2+ (ITU-T G.992.3/5)) how to use

the DSL CPE Products in the ordinary, customary, and intended way, which CommScope knows

or should know infringes at least claim 36 of the ’686 Patent. CommScope’s inducements may

further include, without limitation and with specific intent to encourage the infringement,

knowingly inducing customers to use the DSL CPE Products within the United States, or

knowingly inducing customers to use the DSL CPE Products within the United States, by, directly

or through intermediaries, instructing and encouraging such customers to make, use, sell, or offer

to sell the DSL CPE Products in the United States, which CommScope knows or should know

infringes at least claim 36 of the ’686 Patent.

        66.      Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’686 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 36 of the ’686 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’686 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’686 Patent




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when used for their normal and intended purpose, including by operating in accordance with

VDSL2 (ITU-T G.993.2) and ADSL2/2+ (ITU-T G.992.3/5). The products are made for the

specific purpose of operating according to the DSL Standards and have no substantial non-

infringing use.

         67.      CommScope knew or should have known of the ’686 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’686 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’686 Patent. CommScope’s infringement of the ’686 Patent has been willful and deliberate.

    C.         Infringement of the ’882 Patent

         68.      The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

         69.      A true and correct copy of the ’882 Patent, entitled “Resource sharing in a

telecommunications environment,” and with Marcos Tzannes as the first named inventor, is

attached hereto as Exhibit 3.

         70.      The ’882 Patent duly and legally issued on November 30, 2010.

         71.      TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’882 Patent. TQ Delta has standing to sue for infringement of the ’882 Patent.

         72.      The VDSL2 (ITU-T G.993.2) standard specifies functionality relating to a system

that allocates shared memory using a transceiver transmitting or receiving a message during

initialization specifying a maximum number of bytes of memory that are available to be allocated

to a deinterleaver; determining an amount of memory required by the deinterleaver to deinterleave




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a first plurality of Reed Solomon (RS) coded data bytes within a shared memory; allocating a first

number of bytes of the shared memory to the deinterleaver to deinterleave a first plurality of Reed

Solomon (RS) coded data bytes for transmission at a first data rate, wherein the allocated memory

for the deinterleaver does not exceed the maximum number of bytes specified in the message;

allocating a second number of bytes of the shared memory to an interleaver to interleave a second

plurality of RS coded data bytes received at a second data rate; and deinterleaving the first plurality

of RS coded data bytes within the shared memory allocated to the deinterleaver and interleaving

the second plurality of RS coded data bytes within the [shared] memory allocated to the interleaver,

wherein the shared memory allocated to the deinterleaver is used at the same time as the shared

memory allocated to the interleaver (e.g., allocating an amount of shared memory to a deinterleaver

based on a max_delay_octet,DS value received in the O-PMS message).22

          73.     CommScope’s DSL CPE Products include products that operate in accordance with

VDSL2 (ITU-T G.993.2). 23 On information and belief, the DSL CPE Products allocate amounts

of shared memory to an interleaver and deinterleaver in the manner described in VDSL 2 (ITU-T

G.993.2) above.

          74.     CommScope has directly infringed and continues to infringe at least claim 13 of

the ’882 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and

without TQ Delta’s authority, making, using, selling, or offering to sell the DSL CPE Products in

the United States, or importing said DSL CPE Products into the United States.




22
     See, e.g., ITU-T G.993.2 at §§ 5.1, 6.2.8, 7.1, 9.4, 12.3.5.2.1.3.
23
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ITU-T G.993.2).



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        75.      Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 13 of the ’882 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 13

of the ’882 Patent when they used the DSL CPE Products in the ordinary, customary, and intended

way to operate within the VDSL2 (ITU-T G.993.2) standard.               CommScope’s inducements

included, without limitation and with specific intent to encourage the infringement, knowingly

inducing consumers to use the DSL CPE Products within the United States in the ordinary,

customary, and intended way by, directly or through intermediaries, supplying said DSL CPE

Products to customers within the United States and instructing and encouraging such customers

(for example, via distributing the DSL CPE Products to service-provider customers and instructing

those service-provider customers to use to the products to implement VDLS2 (ITU-T G.993.2))

how to use the DSL CPE Products in the ordinary, customary, and intended way, which

CommScope knows or should know infringes at least claim 13 of the ’882 Patent. CommScope’s

inducements may further include, without limitation and with specific intent to encourage the

infringement, knowingly inducing customers to use the DSL CPE Products within the United

States, or knowingly inducing customers to use the DSL CPE Products within the United States,

by, directly or through intermediaries, instructing and encouraging such customers to make, use,

sell, or offer to sell the DSL CPE Products in the United States, which CommScope knows or

should know infringes at least claim 13 of the ’882 Patent.

        76.      Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’882 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 13 of the ’882 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles




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or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’882 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’882 Patent

when used for their normal and intended purpose, including by operating in accordance with ITU-

T VDSL2 (G.993.2). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

         77.      CommScope knew or should have known of the ’882 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’882 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’882 Patent. CommScope’s infringement of the ’882 Patent has been willful and deliberate.

    D.         Infringement of the ’008 Patent

         78.      The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

         79.      A true and correct copy of the ’008 Patent, entitled “System and method for

scrambling the phase of the carriers in a multicarrier communications system,” and with Marcos

Tzannes as the first named inventor, is attached hereto as Exhibit 4.

         80.      The ’008 Patent duly and legally issued on January 3, 2012.

         81.      TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’008 Patent. TQ Delta has standing to sue for infringement of the ’008 Patent.

         82.      The VDSL2 (ITU-T G.993.2) standard specifies functionality for a multicarrier

system including a first transceiver that uses a plurality of carrier signals for modulating a bit




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stream, wherein each carrier signal has a phase characteristic associated with the bit stream, the

transceiver capable of: associating each carrier signal with a value determined independently of

any bit value of the bit stream carried by that respective carrier signal, the value associated with

each carrier signal determined using a pseudo-random number generator; computing a phase shift

for each carrier signal based on the value associated with that carrier signal; and combining the

phase shift computed for each respective carrier signal with the phase characteristic of that carrier

signal to substantially scramble the phase characteristics of the plurality of carrier signals, wherein

multiple carrier signals corresponding to the scrambled carrier signals are used by the first

transceiver to modulate the same bit value (e.g., a quadrant scrambler and message bit mapping

that causes the same bit to be transmitted on multiple subcarriers).24

        83.      The Accused CommScope DSL CPE Products include products that operate in

accordance with VDSL2 (ITU-T G.993.2). 25

        84.      CommScope has directly infringed at least claim 14 of the ’008 Patent in violation

of 35 U.S.C. § 271(a) by, directly or through intermediaries and without TQ Delta’s authority,

making, using, selling, or offering to sell the DSL CPE Products in the United States, or importing

said DSL CPE Products into the United States.

        85.      Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 14 of the ’008 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 14

of the ’008 Patent when they used the DSL CPE Products in the ordinary, customary, and intended


24
  See, e.g., ITU-T G.993.2 at §§ 10.3.3.2.1, 10.4.3, 12.2, 12.3.3.3.1.2, 12.3.3.3.3.2, 12.3.4.3.1.8,
12.3.4.3.2.8, 12.3.5.3.1, 12.3.5.3.2, 12.3.6.2.
25
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ITU-T G.993.2).



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way to operate within the VDSL2 (ITU-T G.993.2) standard.             CommScope’s inducements

included, without limitation and with specific intent to encourage the infringement, knowingly

inducing consumers to use the DSL CPE Products within the United States in the ordinary,

customary, and intended way by, directly or through intermediaries, supplying said DSL CPE

Products to customers within the United States and instructing and encouraging such customers

(for example, via distributing the DSL CPE Products to service-provider customers and instructing

those service-provider customers to use to the products to implement VDLS2 (ITU-T G.993.2))

how to use the DSL CPE Products in the ordinary, customary, and intended way, which

CommScope knows or should know infringes at least claim 14 of the ’008 Patent. CommScope’s

inducements may further include, without limitation and with specific intent to encourage the

infringement, knowingly inducing customers to use the DSL CPE Products within the United

States, or knowingly inducing customers to use the DSL CPE Products within the United States,

by, directly or through intermediaries, instructing and encouraging such customers to make, use,

sell, or offer to sell the CPE Products in the United States, which CommScope knows or should

know infringes at least claim 14 of the ’008 Patent.

        86.      Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’008 Patent, by selling the DSL CPE

Products standard to customers in the United States for use in practicing at least claim 14 of the

’008 Patent, knowing that said products are material to practicing the claimed inventions, are not

staple articles or commodities of commerce suitable for substantial non-infringing use, and are

especially made or especially adapted for use in an infringement of the ’008 Patent. Specifically,

CommScope sold the DSL CPE Products to customers knowing that the products directly infringe

the ’008 Patent when used for their normal and intended purpose, including by operating in




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accordance with ITU-T VDSL2 (G.993.2). The products are made for the specific purpose of

operating according to the DSL Standards and have no substantial non-infringing use.

         87.      CommScope knew or should have known of the ’008 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’008 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’008 Patent. CommScope’s infringement of the ’008 Patent has been willful and deliberate.

    E.         Infringement of the ’048 Patent

         88.      The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

         89.      A true and correct copy of the ’048 Patent, entitled “Resource sharing in a

telecommunications environment,” and with Marcos Tzannes as the first named inventor, is

attached hereto as Exhibit 5.

         90.      The ’048 Patent duly and legally issued on September 25, 2012.

         91.      TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’048 Patent. TQ Delta has standing to sue for infringement of the ’048 Patent.

         92.      The VDSL2 (ITU-T G.993.2) standard specifies functionality relating to a system

that allocates shared memory through a transceiver that is capable of: transmitting or receiving a

message during initialization specifying a maximum number of bytes of memory that are available

to be allocated to an interleaver; determining an amount of memory required by the interleaver to

interleave a first plurality of Reed Solomon (RS) coded data bytes within the shared memory;

allocating a first number of bytes of the shared memory to the interleaver to interleave the first




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plurality of Reed Solomon (RS) coded data bytes for transmission at a first data rate, wherein the

allocated memory for the interleaver does not exceed the maximum number of bytes specified in

the message; allocating a second number of bytes of the shared memory to a deinterleaver to

deinterleave a second plurality of RS coded data bytes received at a second data rate; and

interleaving the first plurality of RS coded data bytes within the shared memory allocated to the

interleaver and deinterleaving the second plurality of RS coded data bytes within the shared

memory allocated to the deinterleaver, wherein the shared memory allocated to the interleaver is

used at the same time as the shared memory allocated to the deinterleaver (e.g., allocating an

amount of shared memory to an interleaver based on a max_delay_octet,US value received in the

O-PMS message).26

          93.     The Accused CommScope DSL CPE Products include products that operate in

accordance with VDSL2 (ITU-T G.993.2).27 On information and belief, the DSL CPE Products

allocate an amount of shared memory to an interleaver and deinterleaver in the manner described

in VDSL 2 (ITU-T G.993.2) above.

          94.     CommScope has directly infringed and continues to infringe at least claim 1 of the

’048 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

TQ Delta’s authority, making, using, selling, or offering to sell the DSL CPE Products in the

United States, or importing said DSL CPE Products into the United States.

          95.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 1 of the ’048 Patent in violation of 35 U.S.C. § 271(b). CommScope users and



26
     See, e.g., ITU-T G.993.2 at §§ 5.1, 6.2.8, 7.1, 9.4, 12.3.5.2.1.3.
27
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ITU-T G.993.2).



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customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 1 of

the ’048 Patent when they used the DSL CPE Products in the ordinary, customary, and intended

way to operate within the VDSL2 (ITU-T G.993.2) standard.              CommScope’s inducements

included, without limitation and with specific intent to encourage the infringement, knowingly

inducing consumers to use the DSL CPE Products within the United States in the ordinary,

customary, and intended way by, directly or through intermediaries, supplying said DSL CPE

Products to customers within the United States and instructing and encouraging such customers

(for example, via distributing the DSL CPE Products to service-provider customers and instructing

those service-provider customers to use to the products to implement VDLS2 (ITU-T G.993.2))

how to use the DSL CPE Products in the ordinary, customary, and intended way, which

CommScope knows or should know infringes at least claim 1 of the ’048 Patent. CommScope’s

inducements may further include, without limitation and with specific intent to encourage the

infringement, knowingly inducing customers to use the DSL CPE Products within the United

States, or knowingly inducing customers to use the DSL CPE Products within the United States,

by, directly or through intermediaries, instructing and encouraging such customers to make, use,

sell, or offer to sell the CPE Products in the United States, which CommScope knows or should

know infringes at least claim 1 of the ’048 Patent.

        96.      Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’048 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 1 of the ’048 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’048 Patent. Specifically, CommScope sold




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the DSL CPE Products to customers knowing that the products directly infringe the ’048 Patent

when used for their normal and intended purpose, including by operating in accordance with ITU-

T VDSL2 (G.993.2). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

         97.      CommScope knew or should have known of the ’048 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’048 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’048 Patent. CommScope’s infringement of the ’048 Patent has been willful and deliberate.

    F.         Infringement of the ’835 Patent

         98.      The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

         99.      A true and correct copy of the ’835 Patent, entitled “Impulse noise management,”

and with Marcos Tzannes as the first named inventor, is attached hereto as Exhibit 6.

         100.     The ’835 Patent duly and legally issued on June 11, 2013.

         101.     TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’835 Patent. TQ Delta has standing to sue for infringement of the ’835 Patent.

         102.     The VDSL2 (ITU-T G.993.2) standard specifies functionality for an apparatus

configurable to adapt forward error correction and interleaver parameter (FIP) settings during

steady-state communication or initialization comprising: a transceiver, including a processor,

configurable to: receive a signal using a first FIP setting, receive a flag signal, and switch to using

for reception, a second FIP setting following reception of the flag signal, wherein: the first FIP




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setting comprises at least one first FIP value, the second FIP setting comprises at least one second

FIP value, different than the first FIP value, and the switching occurs on a pre-defined forward

error correction codeword boundary following the flag signal. (e.g., changing the interleave

depth).28 This functionality is mandatory for using the G.vector (ITU-T G.993.5) standard with

VDSL2.

        103.     The Accused CommScope DSL CPE Products include products that operate in

accordance with VDSL2 (ITU-T G.993.2), the including G.vector (ITU-T G.993.5) standard. 29

        104.     CommScope has directly infringed and continues to infringe at least claim 24 of

the ’835 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and

without TQ Delta’s authority, making, using, selling, or offering to sell DSL CPE Products in the

United States, or importing said Accused CommScope DSL CPE Products into the United States.

        105.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 24 of the ’835 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 24

of the ’835 Patent when they used the DSL CPE Products in the ordinary, customary, and intended

way to operate within the VDSL2 (ITU-T G.993.2) standard.             CommScope’s inducements

included, without limitation and with specific intent to encourage the infringement, knowingly

inducing consumers to use the DSL CPE Products within the United States in the ordinary,

customary, and intended way by, directly or through intermediaries, supplying said DSL CPE

Products to customers within the United States and instructing and encouraging such customers


28
  See, e.g., ITU-T G.993.2 at Figure 13-1, Table 12-57, §§ 3.64, 9.4.1, 13.3; ITU-T G.993.5 at
General, § 6.1.
29
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ITU-T G.993.2 and G.993.5 vectoring).



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(for example, via distributing the DSL CPE Products to service-provider customers and instructing

those service-provider customers to use to the products to implement VDLS2 (ITU-T G.993.2))

how to use the DSL CPE Products in the ordinary, customary, and intended way, which

CommScope knows or should know infringes at least claim 24 of the ’835 Patent. CommScope’s

inducements may further include, without limitation and with specific intent to encourage the

infringement, knowingly inducing customers to use the DSL CPE Products within the United

States, or knowingly inducing customers to use the DSL CPE Products within the United States,

by, directly or through intermediaries, instructing and encouraging such customers to make, use,

sell, or offer to sell the CPE Products in the United States, which CommScope knows or should

know infringes at least claim 24 of the ’835 Patent.

        106.     Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’835 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 24 of the ’835 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’835 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’835 Patent

when used for their normal and intended purpose, including by operating in accordance with ITU-

T VDSL2 (G.993.2). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

        107.     CommScope knew or should have known of the ’835 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’835 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,




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CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’835 Patent. CommScope’s infringement of the ’835 Patent has been willful and deliberate.

      G.      Infringement of the ’411 Patent

           108.   The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

           109.   A true and correct copy of the ’411 Patent, entitled “Packet retransmission,” and

with Marcos Tzannes as the first named inventor, is attached hereto as Exhibit 7.

           110.   The ’411 Patent duly and legally issued on June 18, 2013.

           111.   TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’411 Patent. TQ Delta has standing to sue for infringement of the ’411 Patent.

           112.   The G.inp (ITU-T G.998.4) standard specifies functionality for a transceiver

capable of packet retransmission comprising: a receiver portion capable of: receiving a plurality

of packets, identifying at least one packet of the plurality of packets as a packet that should be

retransmitted and allocating a memory between a retransmission function and an interleaving

and/or deinterleaving function wherein the memory is allocated between the retransmission

function and the interleaving function and/or the deinterleaving function in accordance with a

message received during an initialization of the transceiver and wherein at least a portion of the

memory may be allocated between the retransmission function and the interleaving and/or

deinterleaving function at any one particular time depending on the message (e.g., allocating

amounts of shared memory to an interleaver or deinterleaver function and a retransmission

function in accordance information provided in an initialization message).30


30
     See, e.g., ITU-T G.998.4, at Summary, §§ 1, 2, 6, 8.2, 8.3, 8.4, Annex D.1.1, C.2.1.3, C.2.1.4.



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        113.     The Accused CommScope DSL CPE Products include products that operate in

accordance with G.inp (ITU-T G.998.4).31 On information and belief, the DSL CPE Products to

allocate memory in the manner described above.

        114.     CommScope has directly infringed and continues to infringe at least claim 18 of

the ’411 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and

without TQ Delta’s authority, making, using, selling, or offering to sell the Accused CommScope

DSL CPE Products in the United States, or importing said Accused CommScope DSL CPE

Products into the United States.

        115.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 18 of the ’411 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 18

of the ’411 Patent when they used the DSL CPE Products in the ordinary, customary, and intended

way to operate within the G.inp (ITU-T G.998.4) standard. CommScope’s inducements included,

without limitation and with specific intent to encourage the infringement, knowingly inducing

consumers to use the DSL CPE Products within the United States in the ordinary, customary, and

intended way by, directly or through intermediaries, supplying said DSL CPE Products to

customers within the United States and instructing and encouraging such customers (for example,

via distributing the DSL CPE Products to service-provider customers and instructing those service-

provider customers to use to the products to implement G.inp (ITU-T G.998.4)) how to use the

DSL CPE Products in the ordinary, customary, and intended way, which CommScope knows or

should know infringes at least claim 18 of the ’411 Patent. CommScope’s inducements may



31
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ITU-T G.998.4).



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further include, without limitation and with specific intent to encourage the infringement,

knowingly inducing customers to use the Accused CommScope DSL CPE Products within the

United States, or knowingly inducing customers to use the Accused CommScope DSL CPE

Products within the United States, by, directly or through intermediaries, instructing and

encouraging such customers to make, use, sell, or offer to sell the CPE Products in the United

States, which CommScope knows or should know infringes at least claim 18 of the ’411 Patent.

        116.     Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’411 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 18 of the ’411 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’411 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’411 Patent

when used for their normal and intended purpose, including by operating in accordance with G.inp

(ITU-T G.998.4). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

        117.     CommScope knew or should have known of the ’411 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’411 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’411 Patent. CommScope’s infringement of the ’411 Patent has been willful and deliberate.




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    H.       Infringement of the ’988 Patent

         118.    The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

         119.    A true and correct copy of the ’988 Patent, entitled “Systems and methods for a

multicarrier modulation system with a variable margin” and with Marcos Tzannes as the first

named inventor, is attached hereto as Exhibit 8.

         120.    The ’988 Patent duly and legally issued on January 20, 2015.

         121.    TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’988 Patent. TQ Delta has standing to sue for infringement of the ’988 Patent.

         122.    The G.fast (ITU-T G.9701) standard specifies functionality for an apparatus

comprising: a multicarrier communications transceiver operable to demodulate for reception a first

plurality of bits from a first carrier using a first Signal to Noise Ratio (SNR) margin and to

demodulate for reception a second plurality of bits from a second carrier using a second SNR

margin, and to demodulate for reception a third plurality of bits from the first carrier using a third

SNR margin, wherein the first SNR margin specifies a first value for an allowable increase in noise

without an increase in the bit error rate (BER) associated with the first carrier, wherein the second

SNR margin specifies a second value for an allowable increase in noise without an increase in the

bit error rate (BER) associated with the second carrier, wherein the third SNR margin specifies a

third value for an allowable increase in noise without an increase in the bit error rate (BER)

associated with said first carrier, wherein the first SNR margin is different than the second SNR

margin, wherein the first SNR margin is different than the third SNR margin, and wherein the first

plurality of bits, the second plurality of bits and the third plurality of bits are each different from




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one another (e.g., utilizing different signal-to-noise ratio margins for respective carriers associated

with different channels).32

        123.     The Accused CommScope DSL CPE Products include products that operate in

accordance with G.fast (ITU-T G.9701).33

        124.     CommScope has directly infringed at least claim 16 of the ’988 Patent in violation

of 35 U.S.C. § 271(a) by, directly or through intermediaries and without TQ Delta’s authority,

making, using, selling, or offering to sell the DSL CPE Products in the United States, or importing

said DSL CPE Products into the United States.

        125.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 16 of the ’988 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 16

of the ’988 Patent when they used the DSL CPE Products in the ordinary, customary, and intended

way to operate within the G.fast (ITU-T G.9701) standard. CommScope’s inducements included,

without limitation and with specific intent to encourage the infringement, knowingly inducing

consumers to use the DSL CPE Products within the United States in the ordinary, customary, and

intended way by, directly or through intermediaries, supplying said DSL CPE Products to

customers within the United States and instructing and encouraging such customers (for example,

via distributing the DSL CPE Products to service-provider customers and instructing those service-

provider customers to use to the products to implement G.fast (ITU-T G.9701)) how to use the

DSL CPE Products in the ordinary, customary, and intended way, which CommScope knows or


32
  See, e.g., ITU-T G.9701, at Figures 9-3, 10-3, Table 12-53, 11, §§ 5.3.4, 5.3.7, 7.1.3.2, 7.1.6.1,
9.1, 9.8.3.2, 9.8.3.4, 10.2.1.2, 10.4.3, 12.3.4.2.7, 12.3.4.2.8.
33
  See, e.g., https://www.goamt.com/wp-content/uploads/2017/11/FST1305 G.FAST-VDSL2-
35B-BRIDGE-MODEM_AMT.pdf (disclosing support for ITU-T G.9701).



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should know infringes at least claim 16 of the ’988 Patent. CommScope’s inducements may

further include, without limitation and with specific intent to encourage the infringement,

knowingly inducing customers to use the Accused CommScope DSL CPE Products within the

United States, or knowingly inducing customers to use the Accused CommScope DSL CPE

Products within the United States, by, directly or through intermediaries, instructing and

encouraging such customers to make, use, sell, or offer to sell the CPE Products in the United

States, which CommScope knows or should know infringes at least claim 16 of the ’988 Patent.

        126.     Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’988 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 16 of the ’988 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’988 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’988 Patent

when used for their normal and intended purpose, including by operating in accordance with G.fast

(ITU-T G.9701). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

        127.     CommScope knew or should have known of the ’988 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’988 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’988 Patent. CommScope’s infringement of the ’988 Patent has been willful and deliberate.




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     I.      Infringement of the ’348 Patent

          128.   The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

          129.   A true and correct copy of the ’348 Patent, entitled “Packet Retransmission” and

with Marcos Tzannes as the first named inventor, is attached hereto as Exhibit 9.

          130.   The ’348 Patent duly and legally issued on July 28, 2015.

          131.   TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’348 Patent. TQ Delta has standing to sue for infringement of the ’348 Patent.

          132.   The G.inp (ITU-T G.998.4) and G.VDSL2 (ITU-T G.993.2) standards specify

functionality for an apparatus comprising: a multicarrier transceiver including a processor and

memory operable to: receive a packet using a forward error correction decoder and a deinterleaver,

wherein the packet comprises a header field and a plurality of PTM-TC codewords, a plurality of

ATM cells or a plurality of Reed-Solomon codewords, and wherein the header field comprises a

sequence identifier (SID); and transmit a plurality of messages using a forward error correction

encoder and without using an interleaver, wherein each message of the plurality of messages is

transmitted in a different DMT symbol and wherein at least one message of the plurality of

messages includes an acknowledgement (ACK) or a negative acknowledgement (NACK) of the

received packet (e.g., using a forward error correction decoder and a deinterleaver as part of packet

retransmission processing).34

          133.   The G.fast (ITU-T G.9701) standard specifies functionality relating to an apparatus

comprising: a multicarrier transceiver including a processor and memory operable to: transmit a



34
  See, e.g., ITU-T G.993.2, at §§ 10.4.3; ITU-T G.998.4, at Figs. 6-1, 6-2, 6-3, 8-1, 9-1, Table
C.6, §§ 3.11, 3.12, 3.13, 3.14, 3.17, 6, 8.1, 8.4, 9.2, 9.3, C.2.2.2 .



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packet using a forward error correction encoder and an interleaver, wherein the packet comprises

a header field and a plurality of PTM-TC codewords, a plurality of ATM cells or a plurality of

Reed-Solomon codewords, and wherein the header field comprises a sequence identifier (SID);

and receive a plurality of messages using a forward error correction decoder and without using a

deinterleaver, wherein each message of the plurality of messages is received in a different DMT

symbol and wherein at least one message of the plurality of messages includes an

acknowledgement (ACK) or a negative acknowledgement (NACK) of the transmitted packet (e.g.,

using a forward error correction encoder and an interleaver as part of packet retransmission

processing).35

          134.    The Accused CommScope DSL CPE Products include products that operate in

accordance with G.inp (ITU-T G.998.4).36

          135.    The Accused CommScope DSL CPE Products include products that operate in

accordance with G.fast (ITU-T G.9701).37

          136.    CommScope has directly infringed and continues to infringe at least claims 1 and

9 of the ’348 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and

without TQ Delta’s authority, making, using, selling, or offering to sell the Accused CommScope

DSL CPE Products in the United States, or importing said Accused CommScope DSL CPE

Products into the United States.


35
     See, e.g., ITU-T G.9701, at Tables 9-4, 9-5, 9-8, §§ 8.2, 9.1, 9.3, 9.4, 9.6, 10.4.3.
36
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ITU-T G.998.4).
37
  See, e.g., https://www.goamt.com/wp-content/uploads/2017/11/FST1305_G.FAST-VDSL2-
35B-BRIDGE-MODEM_AMT.pdf (disclosing support for ITU-T G.9701).




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        137.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 9 of the ’348 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 9 of

the ’348 Patent when they used the DSL CPE Products in the ordinary, customary, and intended

way to operate within the G.inp (ITU-T G.998.4) standard. CommScope’s inducements included,

without limitation and with specific intent to encourage the infringement, knowingly inducing

consumers to use the DSL CPE Products within the United States in the ordinary, customary, and

intended way by, directly or through intermediaries, supplying said DSL CPE Products to

customers within the United States and instructing and encouraging such customers (for example,

via distributing the DSL CPE Products to service-provider customers and instructing those service-

provider customers to use to the products to implement G.inp (ITU-T G.998.4)) how to use the

DSL CPE Products in the ordinary, customary, and intended way, which CommScope knows or

should know infringes at least claim 9 of the ’348 Patent. CommScope’s inducements may further

include, without limitation and with specific intent to encourage the infringement, knowingly

inducing customers to use the Accused CommScope DSL CPE Products within the United States,

or knowingly inducing customers to use the Accused CommScope DSL CPE Products within the

United States, by, directly or through intermediaries, instructing and encouraging such customers

to make, use, sell, or offer to sell the CPE Products in the United States, which CommScope knows

or should know infringes at least claim 9 of the ’348 Patent.

        138.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 1 of the ’348 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 1 of

the ’348 Patent when they used the DSL CPE Products in the ordinary, customary, and intended




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way to operate within the G.fast (ITU-T G.9701) standard. CommScope’s inducements included,

without limitation and with specific intent to encourage the infringement, knowingly inducing

consumers to use the DSL CPE Products within the United States in the ordinary, customary, and

intended way by, directly or through intermediaries, supplying said DSL CPE Products to

customers within the United States and instructing and encouraging such customers (for example,

via distributing the DSL CPE Products to service-provider customers and instructing those service-

provider customers to use to the products to implement G.fast (ITU-T G.9701)) how to use the

DSL CPE Products in the ordinary, customary, and intended way, which CommScope knows or

should know infringes at least claim 1 of the ’348 Patent. CommScope’s inducements may further

include, without limitation and with specific intent to encourage the infringement, knowingly

inducing customers to use the DSL CPE Products within the United States, or knowingly inducing

customers to use the DSL CPE Products within the United States, by, directly or through

intermediaries, instructing and encouraging such customers to make, use, sell, or offer to sell the

DSL CPE Products in the United States, which CommScope knows or should know infringes at

least claim 1 of the ’348 Patent.

        139.     Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’348 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 9 of the ’348 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’348 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’348 Patent

when used for their normal and intended purpose, including by operating in accordance with G.inp




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(ITU-T G.998.4). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

         140.    Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’348 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 1 of the ’348 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’348 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’348 Patent

when used for their normal and intended purpose, including by operating in accordance with G.fast

(ITU-T G.9701). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

         141.    CommScope knew or should have known of the ’348 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’348 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’348 Patent. CommScope’s infringement of the ’348 Patent has been willful and deliberate.

    J.       Infringement of the ’354 Patent

         142.    The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.




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        143.     A true and correct copy of the ’354 Patent, entitled “System and methods for a

multicarrier modulation system with a variable margin” and with Marcos Tzannes as the first

named inventor, is attached hereto as Exhibit 10.

        144.     The ’354 Patent duly and legally issued on October 6, 2015.

        145.     TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’354 Patent. TQ Delta has standing to sue for infringement of the ’354 Patent.

        146.     The G.inp (ITU-T G.998.4) and G.VDSL2 (ITU-T G.993.2) standards specify

functionality for a multicarrier communications transceiver operable to: receive a multicarrier

symbol comprising a first plurality of carriers and a second plurality of carriers; receive a first

plurality of bits on the first plurality of carriers using a first SNR margin; receive a second plurality

of bits on the second plurality of carriers using a second SNR margin; wherein the first plurality

of carriers is different than the second plurality of carriers, wherein the first SNR margin is

different than the second SNR margin, and wherein the first SNR margin provides more robust

reception than the second SNR margin (e.g., utilizing different signal-to-noise ratio margins for

respective carriers associated with different channels).38

        147.     The G.fast (ITU-T G.9701) standard specifies functionality relating to a

multicarrier communications transceiver operable to: receive a multicarrier symbol comprising a

first plurality of carriers and a second plurality of carriers; receive a first plurality of bits on the

first plurality of carriers using a first SNR margin; receive a second plurality of bits on the second

plurality of carriers using a second SNR margin; wherein the first plurality of carriers is different

than the second plurality of carriers, wherein the first SNR margin is different than the second


38
   See, e.g., ITU-T G.993.2, at Table 12-49, §§ 9.5.3.1, 9.5.3.2, 10.3.1, 10.4.3, 12.3.5.2.1.1,
12.3.7.1, ; ITU-T G.998.4, at Figs. 6-1, 6-2, 6-3, 8-1, 9-1, Table 12-57, 12-64, 12-65, §§ 9, 10.1,
11.4.1.6.2, 11.4.1.6.4, C.1.2.



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SNR margin, and wherein the first SNR margin provides more robust reception than the second

SNR margin (e.g., utilizing different signal-to-noise ratio margins for respective carriers associated

with different channels).39

        148.     The Accused CommScope DSL CPE Products include products that operate in

accordance with G.inp (ITU-T G.998.4).40

        149.     The Accused CommScope DSL CPE Products include products that operate in

accordance with G.fast (ITU-T G.9701).41

        150.     CommScope has directly infringed at least claim 10 of the ’354 Patent in violation

of 35 U.S.C. § 271(a) by, directly or through intermediaries and without TQ Delta’s authority,

making, using, selling, or offering to sell the Accused CommScope DSL CPE Products in the

United States, or importing said Accused CommScope DSL CPE Products into the United States.

        151.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 10 of the ’354 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 10

of the ’354 Patent when they used the DSL CPE Products in the ordinary, customary, and intended

way to operate within the G.inp (ITU-T G.998.4) standard. CommScope’s inducements included,

without limitation and with specific intent to encourage the infringement, knowingly inducing



39
  See, e.g., ITU-T G.9701, at Figure 9-3, §§ 9.1, 9.8.3.2, 9.8.3.4, 10.2.1.2, 10.4.3, 12.3.4.2.7,
12.3.4.2.8.
40
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ITU-T G.998.4).
41
  See, e.g., https://www.goamt.com/wp-content/uploads/2017/11/FST1305_G.FAST-VDSL2-
35B-BRIDGE-MODEM_AMT.pdf (disclosing support for ITU-T G.9701).




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consumers to use the DSL CPE Products within the United States in the ordinary, customary, and

intended way by, directly or through intermediaries, supplying said DSL CPE Products to

customers within the United States and instructing and encouraging such customers (for example,

via distributing the DSL CPE Products to service-provider customers and instructing those service-

provider customers to use to the products to implement G.inp (ITU-T G.998.4)) how to use the

DSL CPE Products in the ordinary, customary, and intended way, which CommScope knows or

should know infringes at least claim 10 of the ’354 Patent. CommScope’s inducements may

further include, without limitation and with specific intent to encourage the infringement,

knowingly inducing customers to use the Accused CommScope DSL CPE Products within the

United States, or knowingly inducing customers to use the Accused CommScope DSL CPE

Products within the United States, by, directly or through intermediaries, instructing and

encouraging such customers to make, use, sell, or offer to sell the CPE Products in the United

States, which CommScope knows or should know infringes at least claim 10 of the ’354 Patent.

        152.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 10 of the ’354 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 10

of the ’354 Patent when they used the DSL CPE Products in the ordinary, customary, and intended

way to operate within the G.fast (ITU-T G.9701) standard. CommScope’s inducements included,

without limitation and with specific intent to encourage the infringement, knowingly inducing

consumers to use the DSL CPE Products within the United States in the ordinary, customary, and

intended way by, directly or through intermediaries, supplying said DSL CPE Products to

customers within the United States and instructing and encouraging such customers (for example,

via distributing the DSL CPE Products to service-provider customers and instructing those service-




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provider customers to use to the products to implement G.fast (ITU-T G.9701)) how to use the

DSL CPE Products in the ordinary, customary, and intended way, which CommScope knows or

should know infringes at least claim 10 of the ’354 Patent. CommScope’s inducements may

further include, without limitation and with specific intent to encourage the infringement,

knowingly inducing customers to use the DSL CPE Products within the United States, or

knowingly inducing customers to use the DSL CPE Products within the United States, by, directly

or through intermediaries, instructing and encouraging such customers to make, use, sell, or offer

to sell the DSL CPE Products in the United States, which CommScope knows or should know

infringes at least claim 10 of the ’354 Patent.

        153.     Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’354 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 10 of the ’354 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’354 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’354 Patent

when used for their normal and intended purpose, including by operating in accordance with G.inp

(ITU-T G.998.4). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

        154.     Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’354 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 10 of the ’354 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles




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or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’354 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’354 Patent

when used for their normal and intended purpose, including by operating in accordance with G.fast

(ITU-T G.9701). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

         155.    CommScope knew or should have known of the ’354 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’354 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’354 Patent. CommScope’s infringement of the ’354 Patent has been willful and deliberate.

    K.        Infringement of the ’055 Patent

         156.    The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

         157.    A true and correct copy of the ’055 Patent, entitled “Packet retransmission and

memory sharing” and with Marcos Tzannes as the first named inventor, is attached hereto as

Exhibit 11.

         158.    The ’055 Patent duly and legally issued on November 1, 2016.

         159.    TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’055 Patent. TQ Delta has standing to sue for infringement of the ’055 Patent.

         160.    The G.fast (ITU-T G.9701) standard specifies functionality for a transceiver

operable to transmit a first type of packet and to transmit a second type of packet, wherein the first




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type of packet is stored in a retransmission buffer after transmission and the second type of packet

is not stored in a retransmission buffer after transmission, and wherein the first and second types

of packet comprise a header field that indicates whether a transmitted packet is a first type of

packet or a second type of packet, and wherein the header field of the first type of packet comprises

a sequence identifier (SID) that is incremented after the first type of packet is transmitted and the

header field of the second type of packet does not comprise the SID of the first type of packet (e.g.,

transmitting two types of packets, one stored in a retransmission buffer after transmission and one

not stored in a retransmission buffer after transmission, such as processing of data transfer units

(DTUs) and dummy DTUs).42

        161.     The Accused CommScope DSL CPE Products include products that operate in

accordance with G.fast (ITU-T G.9701).43

        162.     CommScope has directly infringed and continues to infringe at least claim 11 of

the ’055 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and

without TQ Delta’s authority, making, using, selling, or offering to sell the DSL CPE Products in

the United States, or importing said DSL CPE Products into the United States.

        163.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 11 of the ’055 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 11

of the ’055 Patent when they used the DSL CPE Products in the ordinary, customary, and intended


42
  See, e.g., ITU-T G.9701, at Fig. 5-1, §§ 3.2.8, 3.2.11, 8.2, 9; ITU-T G.9711, at §§ 3.2, 8.2, 9.1,
9.8.
43
  See, e.g., https://www.goamt.com/wp-content/uploads/2017/11/FST1305_G.FAST-VDSL2-
35B-BRIDGE-MODEM_AMT.pdf (disclosing support for ITU-T G.9701).




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way to operate within the G.fast (ITU-T G.9701) standard. CommScope’s inducements included,

without limitation and with specific intent to encourage the infringement, knowingly inducing

consumers to use the DSL CPE Products within the United States in the ordinary, customary, and

intended way by, directly or through intermediaries, supplying said DSL CPE Products to

customers within the United States and instructing and encouraging such customers (for example,

via distributing the DSL CPE Products to service-provider customers and instructing those service-

provider customers to use to the products to implement G.fast (ITU-T G.9701)) how to use the

DSL CPE Products in the ordinary, customary, and intended way, which CommScope knows or

should know infringes at least claim 11 of the ’055 Patent. CommScope’s inducements may

further include, without limitation and with specific intent to encourage the infringement,

knowingly inducing customers to use the Accused CommScope DSL CPE Products within the

United States, or knowingly inducing customers to use the Accused CommScope DSL CPE

Products within the United States, by, directly or through intermediaries, instructing and

encouraging such customers to make, use, sell, or offer to sell the CPE Products in the United

States, which CommScope knows or should know infringes at least claim 11 of the ’055 Patent.

        164.     Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’055 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 11 of the ’055 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’055 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’055 Patent

when used for their normal and intended purpose, including by operating in accordance with G.fast




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(ITU-T G.9701). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

         165.    CommScope knew or should have known of the ’055 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’055 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice

would infringe and actively induce and contribute to the infringement of one or more claims of the

’055 Patent. CommScope’s infringement of the ’055 Patent has been willful and deliberate.

    L.       Infringement of the ’112 Patent

         166.    The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

         167.    A true and correct copy of the ’112 Patent, entitled “Impulse noise management”

and with Marcos Tzannes as the first named inventor, is attached hereto as Exhibit 12.

         168.    The ’112 Patent duly and legally issued on February 18, 2020.

         169.    TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’112 Patent. TQ Delta has standing to sue for infringement of the ’112 Patent.

         170.    The G.fast (ITU-T G.9701) standard specifies functionality for a transceiver

comprising: a receiver operable to receiving, during steady-state communication, using a first

forward error correction and interleaving parameter (FIP) setting that comprises a forward error

correction (FEC) codeword size and a first number of FEC coding parity bytes; and the receiver

further operable to switch, during the steady-state communication, to receiving using a second FIP

setting that comprises a second FEC codeword size that is different than the first FEC codeword

size and a second number of FEC coding parity bytes that is different than the first number of FEC




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coding parity bytes, wherein the switching to receiving using the second FEC codeword size and

the second number of FEC coding parity bytes is based on a counter reaching a value (e.g.,

seamless rate adaptation).44

          171.    The Accused CommScope DSL CPE Products include products that operate in

accordance with G.fast (ITU-T G.9701).45

          172.    CommScope has directly infringed and continues to infringe at least claim 8 of the

’112 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

TQ Delta’s authority, making, using, selling, or offering to sell the Accused CommScope DSL

CPE Products in the United States, or importing said Accused CommScope DSL CPE Products

into the United States.

          173.    Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 8 of the ’112 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 8 of

the ’112 Patent when they used the DSL CPE Products in the ordinary, customary, and intended

way to operate within the G.fast (ITU-T G.9701) standard. CommScope’s inducements included,

without limitation and with specific intent to encourage the infringement, knowingly inducing

consumers to use the DSL CPE Products within the United States in the ordinary, customary, and

intended way by, directly or through intermediaries, supplying said DSL CPE Products to

customers within the United States and instructing and encouraging such customers (for example,

via distributing the DSL CPE Products to service-provider customers and instructing those service-



44
     See, e.g., ITU-T G.9701, at §§ 12.3.4.2, 13.1.1., 13.2.1; ITU-T G.9711, at §§ 9.3, 12.3.4.2, 13.1.
45
  See, e.g., https://www.goamt.com/wp-content/uploads/2017/11/FST1305 G.FAST-VDSL2-
35B-BRIDGE-MODEM_AMT.pdf (disclosing support for ITU-T G.9701).



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provider customers to use to the products to implement G.fast (ITU-T G.9701)) how to use the

DSL CPE Products in the ordinary, customary, and intended way, which CommScope knows or

should know infringes at least claim 8 of the ’112 Patent. CommScope’s inducements may further

include, without limitation and with specific intent to encourage the infringement, knowingly

inducing customers to use the Accused CommScope DSL CPE Products within the United States,

or knowingly inducing customers to use the Accused CommScope DSL CPE Products within the

United States, by, directly or through intermediaries, instructing and encouraging such customers

to make, use, sell, or offer to sell the CPE Products in the United States, which CommScope knows

or should know infringes at least claim 8 of the ’112 Patent.

        174.     Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’112 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 8 of the ’112 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’112 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’112 Patent

when used for their normal and intended purpose, including by operating in accordance with G.fast

(ITU-T G.9701). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

        175.     CommScope knew or should have known of the ’112 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’112 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice




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would infringe and actively induce and contribute to the infringement of one or more claims of the

’112 Patent. CommScope’s infringement of the ’112 Patent has been willful and deliberate.

     M.      Infringement of the ’809 Patent

          176.   The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein and form the basis for the following cause of action against each Defendant.

          177.   A true and correct copy of the ’809 Patent, entitled “Techniques for packet and

message communication in a multicarrier transceiver environment” and with Marcos Tzannes as

the first named inventor, is attached hereto as Exhibit 13.

          178.   The ’809 Patent duly and legally issued on November 10, 2020.

          179.   TQ Delta is the current owner by assignment of all rights, title, and interest in and

under the ’809 Patent. TQ Delta has standing to sue for infringement of the ’809 Patent.

          180.   The G.inp (ITU-T G.998.4) and G.VDSL2 (ITU-T G.993.2) standards specify

functionality for an apparatus comprising: a multicarrier transceiver including a processor and

memory capable of: receiving a packet using forward error correction decoding and deinterleaving,

wherein the packet comprises a header field and a plurality of Reed-Solomon codewords, and

wherein the header field comprises a sequence identifier (SID); and transmitting a message using

forward error correction encoding and without using interleaving, wherein the message is

transmitted in a single DMT symbol and wherein the message includes an acknowledgement

(ACK) or a negative acknowledgement (NACK) of the received packet (e.g., block deinterleaving

of data transmission units (DTUs), for which acknowledgment status is transmitted via the

retransmission return channel (RRC)).46



46
  See, e.g., ITU-T G.993.2, at § 10.4; ITU-T G.998.4, at Fig. 6-1, 6-2, Table C.6, §§ 3.11, 3.12,
3.13, 3.14, 3.17, 8.1, 8.4, 9.2 .



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          181.    The G.fast (ITU-T G.9701) standard specifies functionality relating to an apparatus

comprising: a multicarrier transceiver including a processor and memory capable of: transmitting

a packet using forward error correction encoding and interleaving, wherein the packet comprises

a header field and a plurality of Reed-Solomon codewords, and wherein the header field comprises

a sequence identifier (SID); and receiving a message using forward error correction decoding and

without using deinterleaving, wherein the message is received in a single DMT symbol, and

wherein the message includes an acknowledgement (ACK) or a negative acknowledgement

(NACK) of the transmitted packet (e.g., block interleaving of data transmission units (DTUs), for

which acknowledgment status is received via the retransmission return channel (RRC)).47

          182.    The Accused CommScope DSL CPE Products include products that operate in

accordance with G.inp (ITU-T G.998.4).48

          183.    The Accused CommScope DSL CPE Products include products that operate in

accordance with G.fast (ITU-T G.9701).49

          184.    CommScope has directly infringed and continues to infringe at least claim 8 of the

’809 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

TQ Delta’s authority, making, using, selling, or offering to sell the Accused CommScope DSL

CPE Products in the United States, or importing said Accused CommScope DSL CPE Products

into the United States.


47
     See, e.g., ITU-T G.9701, at Tables 9-4, 9-5, 9-8, §§ 8.2, 9.1, 9.3, 9.4, 9.6, 10.4.3.
48
    See, e.g., https://www.commscope.com/globalassets/digizuite/62029-nvg44x-datasheet.pdf
(disclosing support for ITU-T G.998.4).
49
  See, e.g., https://www.goamt.com/wp-content/uploads/2017/11/FST1305_G.FAST-VDSL2-
35B-BRIDGE-MODEM_AMT.pdf (disclosing support for ITU-T G.9701).




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        185.     CommScope has directly infringed and continues to infringe at least claim 1 of the

’809 Patent in violation of 35 U.S.C. § 271(a) by, directly or through intermediaries and without

TQ Delta’s authority, making, using, selling, or offering to sell the Accused CommScope DSL

CPE Products in the United States, or importing said Accused CommScope DSL CPE Products

into the United States.

        186.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 8 of the ’809 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products directly infringed at least claim 8 of

the ’809 Patent when they used the DSL CPE Products in the ordinary, customary, and intended

way to operate within the G.inp (ITU-T G.998.4) standard. CommScope’s inducements included,

without limitation and with specific intent to encourage the infringement, knowingly inducing

consumers to use the DSL CPE Products within the United States in the ordinary, customary, and

intended way by, directly or through intermediaries, supplying said DSL CPE Products to

customers within the United States and instructing and encouraging such customers (for example,

via distributing the DSL CPE Products to service-provider customers and instructing those service-

provider customers to use to the products to implement G.inp (ITU-T G.998.4)) how to use the

DSL CPE Products in the ordinary, customary, and intended way, which CommScope knows or

should know infringes at least claim 8 of the ’809 Patent. CommScope’s inducements may further

include, without limitation and with specific intent to encourage the infringement, knowingly

inducing customers to use the Accused CommScope DSL CPE Products within the United States,

or knowingly inducing customers to use the Accused CommScope DSL CPE Products within the

United States, by, directly or through intermediaries, instructing and encouraging such customers




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to make, use, sell, or offer to sell the CPE Products in the United States, which CommScope knows

or should know infringes at least claim 8 of the ’809 Patent.

        187.     Further and in the alternative, CommScope has been actively inducing infringement

of at least claim 1 of the ’809 Patent in violation of 35 U.S.C. § 271(b). CommScope users and

customers (e.g., service providers) of the DSL CPE Products standard directly infringed at least

claim 1 of the ’809 Patent when they used the DSL CPE Products in the ordinary, customary, and

intended way to operate within the G.fast (ITU-T G.9701) standard. CommScope’s inducements

included, without limitation and with specific intent to encourage the infringement, knowingly

inducing consumers to use the DSL CPE Products within the United States in the ordinary,

customary, and intended way by, directly or through intermediaries, supplying said DSL CPE

Products to customers within the United States and instructing and encouraging such customers

(for example, via distributing the DSL CPE Products to service-provider customers and instructing

those service-provider customers to use to the products to implement G.fast (ITU-T G.9701)) how

to use the DSL CPE Products in the ordinary, customary, and intended way, which CommScope

knows or should know infringes at least claim 1 of the ’809 Patent. CommScope’s inducements

may further include, without limitation and with specific intent to encourage the infringement,

knowingly inducing customers to use the DSL CPE Products within the United States, or

knowingly inducing customers to use the DSL CPE Products within the United States, by, directly

or through intermediaries, instructing and encouraging such customers to make, use, sell, or offer

to sell the DSL CPE Products in the United States, which CommScope knows or should know

infringes at least claim 1 of the ’809 Patent.

        188.     Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’809 Patent, by selling the DSL CPE




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Products to customers in the United States for use in practicing at least claim 8 of the ’809 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’809 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’809 Patent

when used for their normal and intended purpose, including by operating in accordance with G.inp

(ITU-T G.998.4). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

        189.     Further and in the alternative, CommScope, in violation of 35 U.S.C. § 271(c), has

contributorily infringed, and is contributorily infringing, the ’809 Patent, by selling the DSL CPE

Products to customers in the United States for use in practicing at least claim 1 of the ’809 Patent,

knowing that said products are material to practicing the claimed inventions, are not staple articles

or commodities of commerce suitable for substantial non-infringing use, and are especially made

or especially adapted for use in an infringement of the ’809 Patent. Specifically, CommScope sold

the DSL CPE Products to customers knowing that the products directly infringe the ’809 Patent

when used for their normal and intended purpose, including by operating in accordance with G.fast

(ITU-T G.9701). The products are made for the specific purpose of operating according to the

DSL Standards and have no substantial non-infringing use.

        190.     CommScope knew or should have known of the ’809 Patent but was willfully blind

to the existence of the Patent. CommScope has had actual knowledge of the ’809 Patent since at

least as early as the filing and service of this Complaint. By the time of the trial of this case,

CommScope will have known and intended that its continued actions since receiving such notice




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would infringe and actively induce and contribute to the infringement of one or more claims of the

’809 Patent. CommScope’s infringement of the ’809 Patent has been willful and deliberate.

    N.       Declaratory Judgment that CommScope is Not Entitled a License on a
             Worldwide, Non-Discriminatory Basis and on Reasonable Terms and Conditions

         191.    The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein.

         192.    A substantial controversy exists between TQ Delta and CommScope of sufficient

immediacy and reality to warrant the issuance of a declaratory judgment.

         193.    TQ Delta owns patents that are essential to standards adopted by the ITU for various

DSL standards.

         194.    TQ Delta (or its predecessor-in-interest, Aware) submitted PSLDs regarding certain

DSL standards.

         195.    These PSLDs expressed that TQ Delta (or its predecessor-in-interest, Aware) was

“prepared to grant … on a worldwide, non-discriminatory basis and on reasonable terms and

conditions to make, use and sell implementations….” related to the referenced standard document.

         196.    Over years of discussion, TQ Delta was prepared to offer and did offer to license,

repeatedly, any TQ Delta Patents subject to the PSLDs to CommScope on a worldwide, non-

discriminatory basis and on reasonable terms and conditions, including in its July, 2021 offer to

CommScope.

         197.    CommScope refused each of TQ Delta’s offers to license these patents.

         198.    TQ Delta’s offers to CommScope were on reasonable terms and conditions.

         199.    TQ Delta’s offers to CommScope were non-discriminatory.

         200.    TQ Delta’s offers to CommScope were on a worldwide basis.




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        201.     TQ Delta has complied and continues to comply with any binding commitment of

TQ Delta’s (or its predecessor-in-interest, Aware’s) to license its patents to CommScope on a

worldwide, non-discretionary basis and on reasonable terms and conditions, including under Texas

law.

        202.     TQ Delta’s license offers to CommScope satisfied any binding obligations TQ

Delta (or its predecessor-in-interest, Aware’s) had to license its patents to CommScope on a

worldwide, non-discretionary basis and on reasonable terms and conditions, including under Texas

law.

        203.     CommScope repudiated, prevented performance, waived, forfeited, and/or rejected

any rights it had with respect to TQ Delta’s PSLDs, including the right to assert it is a third-party

beneficiary of the right to a license on the terms set forth in the PSLDs, including under Texas law.

For example, CommScope rejected TQ Delta’s offers to license the TQ Delta Patents on a

worldwide, non-discretionary basis and on reasonable terms and conditions and refused to accept

any such terms for a license. CommScope is not a third-party beneficiary of TQ Delta’s (or its

predecessor-in-interest, Aware’s) PSLD submissions that is entitled to a license to TQ Delta’s

patents on a worldwide, non-discriminatory basis and on reasonable terms and conditions,

including under Texas law.

        204.     CommScope’s refusal to license the TQ Delta patents on a worldwide, non-

discriminatory basis and on reasonable terms and conditions prevented TQ Delta from licensing

the patents to CommScope on the terms provided by the PSLDs.

        205.     CommScope’s refusal to license the patents cost TQ Delta years of effort spent in

negotiations.




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        206.     TQ Delta and CommScope have adverse legal interests because CommScope

continues to use TQ Delta’s patented technology without a license, therefore infringes TQ Delta’s

patents, and has not paid TQ Delta for a license.

        207.     TQ Delta requests a declaratory judgment that TQ Delta complied with any binding

commitment to be prepared to offer a license on terms set forth in the PSLDs or otherwise to

license its patents on a worldwide, non-discretionary basis and on reasonable terms and conditions.

        208.     TQ Delta requests a declaratory judgment that CommScope is not entitled to the

any terms in the PSLDs or otherwise entitled to license any of the TQ Delta Patents on a

worldwide, non-discretionary basis and on reasonable terms and conditions.

                                             VII.   DAMAGES

        209.     The allegations of each foregoing paragraph are incorporated by reference as if

fully set forth herein.

        210.     For the above-described infringement, TQ Delta has been injured and seeks

damages to adequately compensate it for Defendant’s infringement of the TQ Delta Patents. Such

damages, to be proved at trial, should be no less than the amount of a reasonable royalty under 35

U.S.C. § 284, together with TQ Delta’s costs and expenses, pre-judgment and post-judgment

interest, and supplemental damages for any continuing post-verdict or post-judgment

infringement, with an accounting as needed.

        211.     As set forth above, Defendant’s infringement of the Asserted Patents has been

willful, such that TQ Delta seeks treble damages under 35 U.S.C. § 284 as appropriate.

        212.     Defendant’s willful infringement of the TQ Delta Patents renders this case

exceptional under 35 U.S.C. § 285, such that TQ Delta seeks all reasonable attorneys’ fees and

costs incurred in this litigation, together with pre-judgment and post-judgment interest thereon.




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                                  VIII.      PRAYER FOR RELIEF

        TQ Delta respectfully requests the following relief:

        a.       A judgment in favor of TQ Delta that Defendant has infringed each Asserted Patent,

whether literally or under the doctrine of equivalents, and that such infringement is willful as

described herein;

        b.       A judgment and order requiring Defendant to pay TQ Delta its damages, costs,

expenses, and pre-judgment and post-judgment interest for Defendant’s infringement of each

Asserted Patent as provided under 35 U.S.C. § 284, including supplemental damages for any

continuing post-verdict or post-judgment infringement with an accounting as needed; and

        c.       A judgment and order requiring Defendant to pay TQ Delta enhanced damages for

willful infringement as provided under 35 U.S.C. § 284;

        d.       A judgment and order finding this case exceptional and requiring Defendant to pay

TQ Delta its reasonable attorneys’ fees and costs incurred in this litigation pursuant to 35 U.S.C.

§ 285, together with pre-judgment and post-judgment interest thereon;

        e.       A judgment that TQ Delta has complied with any binding commitments in its

PSLDs in its negotiations with and/or offers to CommScope.

        f.       A judgment that CommScope has, through its conduct, repudiated, prevented

performance, waived, forfeited, and/or rejected any rights associated with TQ Delta’s PSLDs,

including the right to assert it is a third-party beneficiary of the right to a license on the terms set

forth in the PSLDs; and

        g.       Such other and further relief as the Court deems just and proper.




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                                             IX. JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), TQ Delta requests a jury trial of all

issues triable of right by a jury.


 Dated: August 13, 2021                                Respectfully submitted,

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                                                       ATTORNEYS FOR PLAINTIFF TQ
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